
196 P.3d 131 (2008)
164 Wash.2d 1021
STATE of Washington, Respondent,
v.
Leron FORD, Petitioner.
No. 80536-9.
Supreme Court of Washington.
October 1, 2008.

ORDER
¶ 1 Department I of the Court, composed of Chief Justice Alexander and Justices C. Johnson, Sanders, Owens and J. Johnson, at its October 1, 2008, Motion Calendar, considered whether review should be granted pursuant to RAP 13.4(b), and unanimously agreed that the following order be entered.
¶ 2 IT IS ORDERED:
¶ 3 That the Petition for Review is granted and the review is consolidated under Supreme Court No. 80131-2, State of Washington v. Jacob Gamble, along with Supreme Court No. 80405-2, State of Washington v. Rodney James Harris, Supreme Court No. 80469-9, State of Washington v. Gantry Lomone Mathews, and Supreme Court No. 81389-2, State of Washington v. James G. Alexander.
/s/ Gerry L. Alexander
Chief Justice
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